Case 2:16-cr-00100-DBH Document 75 Filed 01/11/21 Page 1 of 3              PageID #: 302




                        UNITED STATES DISTRICT COURT
                             DISTRICT OF MAINE


    UNITED STATES OF AMERICA,                  )
                                               )
                                               )
    V.                                         )    CRIMINAL NO. 2:16-CR-100-DBH
                                               )
    ALFRED McINTOSH, JR.,                      )
                                               )
                            DEFENDANT          )


         ORDER ON SECOND MOTION FOR COMPASSIONATE RELEASE


         On August 18, 2020, I denied Alfred McIntosh, Jr.’s, motion for

compassionate relief, saying: “I conclude that the circumstances here do not

present extraordinary and compelling reasons to reduce McIntosh’s sentence

effectively by two-thirds and that his recidivism risk does create a danger to the

community.” Order (ECF No. 72).

         In that ruling, I recognized McIntosh’s health conditions that made him

vulnerable:

                     McIntosh is justifiably afraid of COVID-19 given his
              health conditions.1 But conditions at FCI Schuylkill appear
              to be under control. And as I said at sentencing:2

                    the history and characteristics of this defendant are
                    not hopeful. He seems to be good when he’s sober but
                    he’s not good when he relapses, and that seems to be
                    more of the norm. Mental and emotional health
                    history for himself and his family, ongoing criminal
                    activity up through 2012 involving theft, burglary,
                    drugs, motor vehicle offenses, assault, et cetera. And
                    even after this tragedy in 2012 [referring to the



1He reported COPD, prediabetes, hypertension, asthma, and retinopathy.
2In 2017 I had sentenced McIntosh to 144 months in prison for possession with intent to
distribute methadone where one of his distributees died from the methadone. See Order at 2.
Case 2:16-cr-00100-DBH Document 75 Filed 01/11/21 Page 2 of 3              PageID #: 303



                    methadone death] he struggled with drug usage up
                    until the severe car accident and his arrest [in 2016].

Order at 3. I then quoted my colleague Judge Torresen’s language from the

earlier case of United States v. Hunter, 2:14-cr-122-NT, 2020 WL 4194504, at

*3 (D. Me. July 21, 2020) (ECF No. 66), where she said:

             Even if [the defendant] could establish extraordinary and
             compelling reasons for his release, reducing his sentence
             would be inconsistent with the § 3553(a) factors, including
             protection of the public. I sentenced [the defendant] to a
             235-month term of incarceration because of the seriousness
             of his drug offenses. See 18 U.S.C. § 3553(a)(1). Reducing
             [his] sentence by 70% would undercut the seriousness of the
             offense, respect for the law, and the need to deter future
             criminal conduct. See 18 U.S.C. § 3553(a)(2). Further, [his]
             presentence report shows a serious criminal record . . . .
             Given his lengthy criminal record, it would be difficult to find
             that the safety of the community could be assured if [the
             defendant] were to be granted early release.

I added: “Those observations apply here [i.e., in McIntosh’s case] as well.” Order

at 3-4.

      On January 6, 2021, McIntosh filed a new motion for compassionate

release “asking for a Public defender if it is needed.” Def.’s Mot. at 9. Primarily

he cites decisions by other district judges in other districts whose facts he

believes resemble his. He also refers to the growth in COVID-19 numbers at FCI

Schuylkill, where he is incarcerated. The BOP reports that the prison currently

has 59 inmates and 13 staff positive for COVID-19 and 162 inmates and 5 staff

who have recovered. See BOP, COVID-19 Cases, Federal Bureau of Prisons (last

updated Jan. 8, 2021), https://www.bop.gov/coronavirus/.

      As for the other district judge decisions McIntosh cites, I respect the views

of those judges, but I must evaluate the circumstances of this particular

defendant.   I continue to recognize that McIntosh has a legitimate fear that
                                                                                       2
Case 2:16-cr-00100-DBH Document 75 Filed 01/11/21 Page 3 of 3     PageID #: 304




COVID-19 presents a particular danger to him. But his risk of recidivism and

the need to protect the public remain under the § 3553(a) factors I must apply

in assessing his motion.

      I therefore DENY this second motion for compassionate release. I also DENY

the request to appoint counsel, because the assistance of counsel would not be

helpful to McIntosh under the circumstances.

      SO ORDERED.

      DATED THIS 11TH DAY OF JANUARY, 2021

                                           /S/D. BROCK HORNBY
                                           D. BROCK HORNBY
                                           UNITED STATES DISTRICT JUDGE




                                                                               3
